          Case 1:17-cv-04592-RA Document 11 Filed 08/11/17 Page 1 of 2




                             INTIIE UMTED STATESDISTRICTCOURT
                           FORTFTESOUTI{ERN DISTRICT OF NEW YORK


CASTLEPOINT             INSURANCE   COITiPANY
A/s/o      AL SALVATTERRA?I .ntiff(s)            )           STIPULATION O{
                                                )            VOLIIilITARY DISMISSAL
                                                )            PT.JRSUtuYLIOF.R.C.P.
                   v.                           )            4t(a)(lXAXii)
AMAZON.COM, INC,, AI'{AZON.COI,{tLC             )
AND AIIIAZON.CO$.DEDC, LLC                      )            CaseNo-: LU-CV-04592-RA
                                                )
                                Defendant(s)    )
                                                )
                                                )

  STIPULATI0N oF YOLUNTARY DIWIISSAL PURSUtuYTTo F.R.c.p. 4l(axtxAXll)

       IT IS HEREBY STIPULATEDAND AGREEDby andbetweenthe partiesand/ortheir
 respectivecounse(s)that the above-captioned
                                           action is vohmtarilydismissed,withoutprejudice
 against the defendant(s)                       pursuantto the Federal Rules of Civil
         a I (a)(I)(A[ii).
 Procedure




Alan      B.               Esq. (Aw7078)
Address
Wenig & tilenig, P&LC                           #tti titazure Director wilkins              Young
t 50 Broadway-   suite 911                      yagermanr P.C.
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C'itv,Stste &Zio Cde                            Clty, St"t" AZlp C"d"
Ne* York, t'tY 10038                            Lll John Street
(,2L2, 374-9840
                                                New York, NY L0038
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Dated:August 11. 2OI7                           Dared:
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                    Case 1:17-cv-04592-RA Document 11 Filed 08/11/17 Page 2 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

----------------------------------------------------------------------X
CASTLEPOINT INSURANCE COMPANY A/S/O AL SALVATIERRA,

Plaintiffs,                                                                                                 Civil Action No. 1:17-cv-04592
                                                                                                            (RA)(HBP)
                            -against-

AMAZON.COM, INC., AMAZON.COM, LLC AND AMAZON.COM.DEDC, LLC,
                                         Defendants.

----------------------------------------------------------------------X



                               STIPULATION OF VOLUNTARY DISCONTINUANCE PURSUANT TO F.R.C.P. 41(a)(1)(A)(II)

                                               SMITH MAZURE DIRECTOR WILKINS YOUNG & YAGERMAN, P.C.
                                                                   Attorneys for Defendants
                                               Amazon.Com, Inc., Amazon.Com, LLC and Amazon.Com.DEDC, LLC
                                                                        111 John Street
                                                                    New York, NY 10038
                                                                        (212) 964-7400
                                                                          AMZ-00109
